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                    EXHIBIT 26
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          glen Ierner (glenlerncresq@aol.com) You 1110\ eel this message
          to its current location.
 S..::nt: Mon 1/07113 10:49 Ai\11
 l o:      Sutton Lionel (lhs31aw@hotmaj l.com); Susan Desantis
           (SDesantis@anclrylawgroup.com)
 Cc:       jcahill@glenlcmcr.com
 Make sure Ollt of the $5k John kept I get half since I'm sending full $5k to Tiger
 On Jan 7, 2013, at 9:25AM, Sutton Lionel wro t e:



        They senl you the check for my fee. the total fee on Thonn w<:ls lOk (+or-). They sent you
        5 for me and kept the other 5.
        Check with Susie she has the accounting.



        L ionel H. Sutton, Ill
        935 Gravicr St., Ste. 19 I0
        New Orleans, LA 70 I 12
        Orti<.:c 504 592 3230
        Ce ll 504 957 4689


        From: q!l'!nlerneresg:n•ao!.con]
        Subject: Re:
        Date: i"lon, 7 .Jan 2013 09 :12:54-0700
        To: [t1~31<W1Mhotmail.coq}; k2bill~n·qte!.1]crn.er""~Qn1

        Jeff, did we receive rnonlcs from Andry. If so, Tiger, how much Is your fee?
        On J<Jn '1, 2013, at 9:08 M ·1, Sutton Lionel vnote:


               did u check on my fee f10m casey thonn. susie sent il to jeff mid december.


               Lionel H. Sutlon, III
               935 Gravier Sl. , Stc. l91 0
               New Orleans, L/\ 70112
               O nicc 504 592 3230
               Cell 504 957 46S9


               From: gi~Qt(~rn~_[i1'?.Q'R aoL~.9!ll
                Sllbject: Rc:
                Date: Fri, 4 Ja11 2013 17:03:44 ·0500
               ·ro: !lli.J.I.m:!. a: ho.tJJl<;~.if.~QDJ




                                                                                                     SM-01-GL00281
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          Ok. understood. Need Trn agreement done. T hey've been dragging feet on it
          since meeting months ago. I'm not too crazy about them.
          On Jan 4, 2013, at 4:49 PM, Sutton Lionel wrote:


                Some things are worth arguing <~bout and some are not. Because
                we are friends.

                Lionel H. Sutton, lfl
                935 Gravicr St., Stc. I 910
                New Orleans, L/\ 70 l 12
                Office 504 592 3230
                Cel l 504 957 4689


                From: gk,pl~rn_QL~s,illLaol..mru
                Subject: Rc:
                Date: Fri, 4 Jan 2013 16:39:40 -0500
                To: Lhs31ow o holrQgi[.~orn

                Thx. 1f you have any issues \'tith anything I said you should let
                rne know. We are still friends you know.
                On Jan '1, 2013, at 4:02 Pl'vl, Sulton Lionel wrote:


                        r don't necessarily agree I'Jith all said, but i
                       understand your posilion. i will work with mike to
                       get It resolved.

                       Lionel I!. Sutlon, Il l
                       935 Gn1vier St., Ste. 19l0
                       New Orleans, LA 70 I 12
                       0 rtice 50-t 592 3230
                       Cell 504 957 4689

                       > Subject: Re:
                       > From: olcnlerneres.c!.§!.aol.~om
                       .> Date: Fri, 4 Jan 2013 15:l6:0G ·0500
                       > CC: 1!.123Jiiw@.botnlillL.l:orn; n1!2!.Yi)nt·:a' CIOIVO)Ic.us
                       > To: ~ll!J.:§:t1h::nferner..&,Qi_l]
                       >
                       > Now you can see why I'm a little bitter. Originally
                      you wanted to give m e 50% to put up $760,000.00
                      for the machine. Then you said 25% but then 1'd
                      have 25% of all other t echnologies including beach
                      cleaning. 1·1y understanding Is \':e don't even have
                      the rights to tha~ techrology. flcvcrthe!ess, l put up
                      SO% more{s l,l2 !,000) tnan •:.11m i originJIIy




                                                                                         SM-01-GL00282
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                  agreed to put up as well as another $575k in
                  salaries and expenses. You may feel that Mike's
                  salary rs on me or was premature but I promise you
                  without il we would never be in the position we are
                  with NAC. NAC has said as much <~n<l that without
                  corporate leadership we \Nou!d have been
                  d isregarded by their board. I've taken all the risk
                  Tiger. We are close to something here that would
                  never have happened if r had not stepped up to the
                  plate . Very fe1,v people have the balls I do and put
                  up this type of money out of their own pocket. I'm
                  blessed 1 can do ft.
                   >
                   > The only change to the Operating Agreement
                  should be an apportionment of /"'ike's five percent
                  (5%) r promised him for leading us and Corey's
                 ( 1%) for handling all lega I matter as and
                 agreements. That will reduce all of us an addiLional
                 1.5% but I will agree that you still retain a voting
                 majority in unison although I don't envision huge
                 d iscrepancies in the direction of the cornp<1ny.
                 However, r think for us to go in the correct direction
                 we need to focus on l'lhat works. Fven once we get
                 this contract we arc stiff a struggling little company
                 but we will have creclibility and ,.,e have people all
                 over the world Wcliling to see this contract and for
                 us to get going. We need machines to deploy for
                 testing in Europe, TN, Hexico and South America
                 ASAP. We can have a billion dollars worth of
                 contructs in the next twelve months if ~·1e play our
                 cards right. Now the hustle begins.
                 >On Jan 4, 2013, i:Jt 11 :36 Ai·l, Jeff Cahill •::rote :
                  ;).·

                 > > Gentlemen • altached is a spreadsheet of
                 advances to ond payments for
                 > > Crown, LLC.
                 > >
                 > > The first lab summarizes non-payroll payments
                 from June through the end
                 >>of October· $ 199,053.2 1.
                 > > On the second l<lb - the top section shows non
                 ·payroll expenses for Jan.
                 > >to t·lay 2012- $128,842.46
                 > > the next section is payroll amounts (and a fe;·,
                 misc. expense advances)
                 > > through August - $66,493.87
                 > > and the last section shows advances to Crown
                 through the end of October
                 > >- $18.1,500.
                 >>
                 > > Total above rs 5575,889.54. A separate tab
                 summarizes amounts paid to
                 > > Proven Techllologies for building the machine -
                 Sl,l2l,OOO. These
                 ~ > payments ·::ere rnade from Jone 2010 through
                 October :o I l.




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                  >>
                  > > At this time, we have payables of
                  approximately $'18,000 - payable
                  > > primarily to Crown Resource Management, LLC
                  and Proven Technologies.
                  >>
                  > > I stopped updating this spreadsheet as of the
                  end of October because I
                  > > am in the process of setting Crown, LLC up on
                  QuickBooks. I should have
                  > > that completely updated by the middle of next
                  week and can then start
                  > > sending out complete financial statements.
                  > >
                   > > I know early on some pvyments were being
                  made from a Crown, LLC account
                  > > setup by Tiger? If I can get copies of those
                  bank statements and
                  > > checks, I can incorporate them Into
                  QuickBooks to fully account for all
                  > > the financial activity. And please let me know if
                  anyone else was
                  > > providing funding so U1at can be reflected in
                  the financial statements.
                  > >
                  > > If you have any questions, please let me
                 know.
                  > >
                  > > Jeff
                 >>
                 >>
                 > > -----Original Message~---·
                 > > From: glen Ierner
                 ( rnailto: glenlcrncresq1_i;aol .corn)
                 > > Sent: Friday, January O·l, 1..013 B:S4 At·l
                 > > To: Jeff Cahill; Tiger Sutton
                 > > Subject:
                 >>
                 > > Please resend lo Tiger and I all Crown co;.ls to
                 date, including my buy
                 > > in and all payments lo Proven, l·lanpOI"Jer and
                 salaries. Basically every
                 > :> cent I've put into Cro•:m to date. He never
                 received it last time
                 >>
                 >>
                 > >
                 > >
                  > :> CONFIDEf~TIAUTY NOTE: The Information
                 contained in this message may be legally prlvfle.jed
                 and confidential Information intended only for the
                 use of the
                 > > individtlill or entity named <tbove. If the reader
                 of this message is not the intended recipient, an
                 associate of, or affiliated 1·11th, the intended
                 recipient, you .:··e hereb•r notifi,;d that t~ny us1~.




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